                 2:20-cv-04228-TMC                Date Filed 01/12/21        Entry Number 12            Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                  Anthony Glenn James,
                        Plaintiff
                           v.                                               Civil Action No.        2:20-cv-04228-TMC
                                                                    )
                                                                    )
  Ashley Wright 9th Circuit Ass. Solicitor; Scarlett A.             )
  Wilson 9th Circuit Solicitor also known as Scarlett               )
   Wilson; N.C.P.D. Sgt. Scott Perry Police Officer;                )
 John Burnett; Keith Hair; K. Jenkins (NCPD) Police
       Officer also known as Kenyatta Jenkins,
                      Defendants

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, Anthony Glenn James, shall take nothing of the defendants, Ashley Wright 9th Circuit Ass. Solicitor,
Scarlett A. Wilson 9th Circuit Solicitor also known as Scarlett Wilson, N.C.P.D. Sgt. Scott Perry Police Officer, John
Burnett, Keith Hair and K. Jenkins (NCPD) Police Officer also known as Kenyatta Jenkins and this action is dismissed
with prejudice.

This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Timothy M. Cain, United States District Judge, presiding, adopting the Report and
Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended dismissing
the action.

Date: January 12, 2021                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
